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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 FAITH BENSON, individually and on behalf of all
 others similarly situated,

                        Plaintiff,                       Case No: 1:24-cv
         v.

 SIMPLENURSING LLC,                                      CLASS ACTION COMPLAINT
                                                         DEMAND FOR JURY TRIAL
                        Defendant.


                                CLASS ACTION COMPLAINT

         Faith Benson (“Plaintiff”), individually and on behalf of all others similarly situated,

makes the following allegations pursuant to the investigation of counsel and based upon

information and belief, except as to allegations pertaining specifically to herself or her counsel,

which are based on personal knowledge.

                                      NATURE OF THE CASE

       1.      Plaintiff brings this action to redress Defendant SimpleNursing LLC’s (“Simple

Nursing”) practices of knowingly disclosing Plaintiff’s and its other customers’ identities and their

purchases of subscriptions to access prerecorded video content to Meta Platforms, Inc. (“Meta”),

formerly known as Facebook, Inc. (“Facebook”), in violation of the federal Video Privacy

Protection Act (“VPPA”), 18 U.S.C. § 2710 et seq.

       2.      Over the past two years, Defendant has systematically transmitted (and continues

to transmit today) its customers’ personally identifying video viewing information to Meta using

a snippet of programming code called the “Meta Pixel,” which Defendant chose to install and

configure on its www.simplenursing.com website (the “Website”).
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       3.       The information Defendant disclosed (and continues to disclose) to Meta via the

Meta Pixel includes the customer’s Facebook ID (“FID”) and the subscription that each of its

customers purchased on its Website. An FID is a unique sequence of numbers linked to a specific

Meta profile. A Meta profile, in turn, identifies by name the specific person to whom the profile

belongs (and also contains other personally identifying information about the person). Entering

“Facebook.com/[FID]” into a web browser returns the Meta profile of the person to whom the FID

corresponds. Thus, the FID identifies a person more precisely than a name, as numerous persons

may share the same name, but each person’s Facebook profile (and associated FID) uniquely

identifies one and only one person. In the simplest terms, the Meta Pixel installed by Defendant

captures and discloses to Meta information that reveals a particular person purchased a

subscription to access prerecorded video content on Defendant’s Website (hereinafter, “Private

Viewing Information”).

        4.      Defendant disclosed and continues to disclose its customers’ Private Viewing

Information to Meta without asking for, let alone obtaining, their consent to these practices.

        5.      The VPPA clearly prohibits what Defendant has done. Subsection (b)(1) of the

VPPA provides that, absent the consumer’s prior informed, written consent, any “video tape

service provider who knowingly discloses, to any person, personally identifiable information

concerning any consumer of such provider shall be liable to the aggrieved person for,” 18 U.S.C.

§ 2710(b)(1), damages in the amount of $2,500.00, see id. § 2710(c).

        6.      Accordingly, on behalf of herself and the putative Class members defined below,

Plaintiff brings this Class Action Complaint against Defendant for intentionally and unlawfully

disclosing her and the Putative Class members’ Private Viewing Information to Meta.




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                                               PARTIES

   I.         Plaintiff Faith Benson

        7.       Plaintiff is, and at all times relevant hereto was, a citizen and resident of Orange

County, Florida.

        8.       Plaintiff is, and at all times relevant hereto was, a user of Meta.

        9.       Plaintiff is a consumer of the video products and services offered on Defendant’s

www.simplenursing.com Website. She first subscribed to Defendant’s Website on or about June

23, 2023 and maintained her subscription throughout the term of the plan selected. Plaintiff became

a subscriber to Defendant’s Website by registering and paying for a subscription and providing

her email address, payment information, and zip code.

        10.      On multiple occasions during the two years preceding the filing of this action,

Plaintiff used her subscription to Defendant’s Website to request and obtain pre-recorded videos

from Defendant.

        11.      At all times relevant hereto, including when purchasing a subscription to

Defendant’s Website and accessing and obtaining the prerecorded video material provided to

subscribers on Defendant’s Website, Plaintiff had a Meta account, a Meta profile, and an FID

associated with such profile.

        12.      Plaintiff has never consented, agreed, authorized, or otherwise permitted Defendant

to disclose her Private Viewing Information to Meta. In fact, Defendant has never even provided

Plaintiff with written notice of its practices of disclosing its customers’ Private Viewing

Information to third parties such as Meta.

        13.      Because Defendant disclosed Plaintiff’s Private Viewing Information (including

her FID and her purchase of a subscription to Defendant’s Website) to Meta during the applicable

statutory period, Defendant violated Plaintiff’s rights under the VPPA and invaded her statutorily

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conferred interest in keeping such information (which bears on her personal affairs and concerns)

private.

   II.         Defendant SimpleNursing LLC

         14.      Defendant is a Delaware limited liability company with a principal place of

business at 8 The Green, Ste A, Dover, Delaware 19901. Defendant operates and maintains the

Website www.simplenursing.com, where it sells subscriptions to access prerecorded video content

on standardized examination preparation for exams such as the NCLEX-RN, TEAS, NCLEX-PN,

and nursing school.

                                   JURISDICTION AND VENUE

         15.      The Court has subject-matter jurisdiction over this civil action pursuant to 28

U.S.C. § 1331 and 18 U.S.C. § 2710.

         16.      Personal jurisdiction and venue are proper because Defendant is a limited liability

company formed under the laws of the State of Delaware and maintains its headquarters and

principal place of business in Dover, Delaware, within this judicial District.

                              VIDEO PRIVACY PROTECTION ACT

         17.      The VPPA prohibits companies (like Defendant) from knowingly disclosing to

third parties (like Meta) information that personally identifies consumers (like Plaintiff) as having

viewed particular videos or other audio-visual materials.

         18.      Specifically, subject to certain exceptions that do not apply here, the VPPA

prohibits “a video tape service provider” from “knowingly disclos[ing], to any person, personally

identifiable information concerning any consumer of such provider[.]” 18 U.S.C. § 2710(b)(1).

The statute defines a “video tape service provider” as “any person, engaged in the business . . . of

rental, sale, or delivery of prerecorded video cassette tapes or similar audio visual materials,” 18

U.S.C. § 2710(a)(4). It defines a “consumer” as “a renter, purchaser, or subscriber of goods or

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services from a video tape service provider.” 18 U.S.C. § 2710(a)(1). “‘[P]ersonally identifiable

information’ includes information which identifies a person as having requested or obtained

specific video materials or services from a video tape service provider.” 18 U.S.C. § 2710(a)(3).

       19.      Leading up to the VPPA’s enactment in 1988, members of the United States Senate

warned that “[e]very day Americans are forced to provide to businesses and others personal

information without having any control over where that information goes.” Id. Senators at the

time were particularly troubled by disclosures of records that reveal consumers’ purchases and

rentals of videos and other audiovisual materials because such records offer “a window into our

loves, likes, and dislikes,” such that “the trail of information generated by every transaction that is

now recorded and stored in sophisticated record-keeping systems is a new, more subtle and

pervasive form of surveillance.” S. Rep. No. 100-599 at 7-8 (1988) (statements of Sens. Simon

and Leahy, respectively).

        20.     Thus, in proposing the Video and Library Privacy Protection Act (which later

became the VPPA), Senator Patrick J. Leahy (the senior Senator from Vermont from 1975 to 2023)

sought to codify, as a matter of law, that “our right to privacy protects the choice of movies that

we watch with our family in our own homes.” 134 Cong. Rec. S5399 (May 10, 1988). As Senator

Leahy explained at the time, the personal nature of such information, and the need to protect it

from disclosure, is the raison d’être of the statute: “These activities are at the core of any definition

of personhood. They reveal our likes and dislikes, our interests and our whims. They say a great

deal about our dreams and ambitions, our fears and our hopes. They reflect our individuality, and

they describe us as people.” Id.

        21.     While these statements rang true in 1988 when the act was passed, the importance

of legislation like the VPPA in the modern era of data mining is more pronounced than ever before.



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During a more recent Senate Judiciary Committee meeting, “The Video Privacy Protection Act:

Protecting Viewer Privacy in the 21st Century,” Senator Leahy emphasized the point by stating:

“While it is true that technology has changed over the years, we must stay faithful to our

fundamental right to privacy and freedom. Today, social networking, video streaming, the ‘cloud,’

mobile apps and other new technologies have revolutionized the availability of Americans’

information.”1

          22.     Former Senator Al Franken may have said it best: “If someone wants to share what

they watch, I want them to be able to do so . . . But I want to make sure that consumers have the

right to easily control who finds out what they watch—and who doesn’t. The Video Privacy

Protection Act guarantees them that right.”2

          23.     In this case, however, Defendant deprived Plaintiff and numerous other similarly

situated persons of that right by systematically (and surreptitiously) disclosing their Private

Viewing Information to Meta, without providing notice to (let alone obtaining consent from) any

of them, as explained in detail below.

                                     BACKGROUND FACTS
     I.         Consumers’ Personal Information Has Real Market Value

          24.     In 2001, Federal Trade Commission (“FTC”) Commissioner Orson Swindle

remarked that “the digital revolution . . . has given an enormous capacity to the acts of collecting




1
  The Video Privacy Protection Act: Protecting Viewer Privacy in the 21st Century, Senate
Judiciary Committee Subcommittee on Privacy, Technology and the Law, http://www.judiciary.
senate.gov/meetings/the-video-privacy-protection-act-protecting-viewer-privacy-in-the-
21stcentury.
2
   Chairman Franken Holds Hearing on Updated Video Privacy Law for 21st Century,
franken.senate.gov (Jan. 31, 2012).


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and transmitting and flowing of information, unlike anything we’ve ever seen in our lifetimes . . .

[and] individuals are concerned about being defined by the existing data on themselves.”3

       25.     Over two decades later, Commissioner Swindle’s comments ring truer than ever, as

consumer data feeds an information marketplace that supports a 26 billion dollar per year online

advertising industry in the United States.4

       26.     The FTC has also recognized that consumer data possesses inherent monetary value

within the new information marketplace and publicly stated that:

               Most consumers cannot begin to comprehend the types and amount
               of information collected by businesses, or why their information
               may be commercially valuable. Data is currency. The larger the data
               set, the greater potential for analysis – and profit.5

       27.     In fact, an entire industry exists while companies known as data aggregators

purchase, trade, and collect massive databases of information about consumers. Data aggregators

then profit by selling this “extraordinarily intrusive” information in an open and largely

unregulated market.6

       28.     The scope of data aggregators’ knowledge about consumers is immense: “If you

are an American adult, the odds are that [they] know[] things like your age, race, sex, weight,




3
 Transcript, The Information Marketplace (Mar. 13, 2001), at 8-11, available at
https://www.ftc.gov/sites/default/files/documents/public_events/information-marketplace-merging-
and-exchanging-consumer-data/transcript.pdf.
4
 See Julia Angwin and Emily Steel, Web’s Hot New Commodity: Privacy, Wall Street
Journal (Feb. 28, 2011), available at
https://www.wsj.com/articles/SB10001424052748703529004576160764037920274.
5
     Statement of FTC Cmr. Harbour (Dec. 7, 2009), at 2, available at
https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-exploring-privacy-
roundtable/091207privacyroundtable.pdf
6
  See M. White, Big Data Knows What You’re Doing Right Now, TIME.com (July 31, 2012),
available at http://moneyland.time.com/2012/07/31/big-data-knows-what-youre-doing-right-now/ .


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height, marital status, education level, politics, buying habits, household health worries, vacation

dreams—and on and on.”7

       29.     Further, “[a]s use of the Internet has grown, the data broker industry has already

evolved to take advantage of the increasingly specific pieces of information about consumers that

are now available.”8

       30.     Recognizing the severe threat the data mining industry poses to consumers’

privacy, on July 25, 2012, the co-chairmen of the Congressional Bi-Partisan Privacy Caucus sent

a letter to nine major data brokerage companies seeking information on how those companies

collect, store, and sell their massive collections of consumer data, stating in pertinent part:

               By combining data from numerous offline and online sources, data
               brokers have developed hidden dossiers on every U.S. consumer.
               This large[-]scale aggregation of the personal information of
               hundreds of millions of American citizens raises a number of serious
               privacy concerns.9

       31.     Data aggregation is especially troublesome when consumer information is sold to

direct-mail advertisers. In addition to causing waste and inconvenience, direct-mail advertisers

often use consumer information to lure unsuspecting consumers into various scams, including

fraudulent sweepstakes, charities, and buying clubs. Thus, when companies like Simple Nursing



7
 N. Singer, You for Sale: Mapping, and Sharing, the Consumer Genome, N.Y. Times (June 16,
2012), available at https://www.nytimes.com/2012/06/17/technology/acxiom-the-quiet-giant-of-
consumer-database-
marketing.html#:~:text=It's%20called%20the%20Acxiom%20Corporation,to%20know%20muc
h%2C%20much%20more.
8
  Letter from Sen. J. Rockefeller IV, Sen. Cmtee. On Commerce, Science, and
Transportation, to S. Howe, Chief Executive Officer, Acxiom (Oct. 9, 2012) available at
https://www.commerce.senate.gov/services/files/3bb94703-5ac8-4157-a97b-%20a658c3c3061c.
9
  See Bipartisan Group of Lawmakers Query Data Brokers About Practices Involving
Consumers’      Personal Information, Website of Sen. Markey (July 24, 2012),
available at https://www.markey.senate.gov/news/press-releases/bipartisan-group-of-lawmakers-
query-data-brokers-about-practices-involving-consumers-personal-information.


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share information with data aggregators, data cooperatives, and direct-mail advertisers, they

contribute to the “[v]ast databases” of consumer data that are often “sold to thieves by large

publicly traded companies,” which “put[s] almost anyone within the reach of fraudulent

telemarketers” and other criminals.10

           32.   Disclosures like Defendant’s are particularly dangerous to the elderly.      “Older

Americans are perfect telemarketing customers, analysts say, because they are often at home, rely

on delivery services, and are lonely for the companionship that telephone callers provide.”11

           33.   The FTC notes that “[t]he elderly often are the deliberate targets of fraudulent

telemarketers who take advantage of the fact that many older people have cash reserves or other

assets to spend on seemingly attractive offers.”12

           34.   Indeed, an entire black market exists while the personal information of vulnerable

elderly Americans is exchanged. Thus, information disclosures like Defendant’s are particularly

troublesome because of their cascading nature: “Once marked as receptive to [a specific] type of

spam, a consumer is often bombarded with similar fraudulent offers from a host of scam artists.”13

           35.   Defendant is not alone in violating its customers’ statutory rights and jeopardizing

their well-being in exchange for increased revenue: disclosing customer and subscriber

information to data aggregators, data appenders, data cooperatives, direct marketers, and other

third parties has become a widespread practice.         Unfortunately for consumers, however, this

growth has come at the expense of their most basic privacy rights.


10
  See Charles Duhigg, Bilking the Elderly, with a Corporate Assist, N.Y. Times (May 20, 2007),
available at https://www.nytimes.com/2007/05/20/business/20tele.html.
11
     Id.
12
  Prepared Statement of the FTC on “Fraud Against Seniors” before the Special Committee on
Aging, United States Senate (August 10, 2000).
13
     Id.


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       II.       Consumers Place Monetary Value on Their Privacy and Consider Privacy
                 Practices When Making Purchases

           36.     As the data aggregation industry has grown, so has consumer concerns regarding

personal information.

           37.     A survey conducted by Harris Interactive on behalf of TRUSTe, Inc. showed that 89

percent of consumers polled avoid doing business with companies who they believe do not protect

their privacy online.14 As a result, 81 percent of smartphone users polled said that they avoid using

smartphone apps that they don’t believe protect their privacy online.15

           38.     Thus, as consumer privacy concerns grow, consumers increasingly incorporate

privacy concerns and values into their purchasing decisions, and companies viewed as having

weaker privacy protections are forced to offer greater value elsewhere (through better quality

and/or lower prices) than their privacy-protective competitors. In fact, consumers’ personal

information has become such a valuable commodity that companies are beginning to offer

individuals the opportunity to sell their personal information themselves.16

           39.     These companies’ business models capitalize on a fundamental tenet underlying

the personal information marketplace: consumers recognize the economic value of their private

data. Research shows that consumers are willing to pay a premium to purchase services from

companies that adhere to more stringent policies of protecting their personal data.17


14
   See 2014 TRUSTe US Consumer Confidence Privacy Report, TRUSTe,
http://www.theagitator.net/wp-content/uploads/012714_ConsumerConfidenceReport_US1.pdf.
15
     Id.
16
  See Joshua Brustein, Start-Ups Seek to Help Users Put a Price on Their Personal Data,
N.Y. Times (Feb. 12, 2012), available at https://www.nytimes.com/2012/02/13/technology/start-
ups-aim-to-help-users-put-a-price-on-their-personal-data.html.
17
  See Tsai, Cranor, Acquisti, and Egelman, The Effect of Online Privacy Information on
Purchasing Behavior, 22(2) Information Systems Research 254, 254 (2011); see also European


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         40.     Thus, in today’s digital economy, individuals and businesses alike place a real,

quantifiable value on consumer data and corresponding privacy rights.18 As such, where a business

offers customers a product or service that includes statutorily guaranteed privacy protections, yet

fails to honor these guarantees, the customer receives a product or service of less value than the

product or service paid for.

       III.    Defendant Uses the Meta Pixel to Systematically Disclose its Customers’ Private
               Viewing Information to Meta

         41.     As alleged below, when a consumer requests or obtains a specific subscription to

Defendant’s Website, the Meta Pixel technology that Defendant intentionally installed on its

Website transmits the fact that a consumer purchased a subscription to video materials or services

alongside his or her FID to Meta, without the subscriber’s consent and in clear violation of the

VPPA.

               A. The Meta Pixel

         42.     On February 4, 2004, Mark Zuckerberg and others launched Facebook, now known

as “Meta”.19 Meta is now the world’s largest social media platform. To create a Meta account, a

person must provide, inter alia, his or her first and last name, birth date, gender, and phone number

or email address.

         43.     The Meta Pixel, first introduced in 2013 as the “Facebook Pixel,” is a unique string

of code that companies can embed on their websites to monitor and track the actions taken by



Network and Information Security Agency, Study on Monetizing Privacy (Feb. 27, 2012), available
at https://www.enisa.europa.eu/publications/monetising-privacy.
18
  See Hann, et al., The Value of Online Information Privacy: An Empirical Investigation (Oct.
2003) at 2, available at https://www.comp.nus.edu.sg/~ipng/research/privacy.pdf.
19
     See Facebook, “Company Info,” available at https://about.fb.com/company-info./.


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visitors to their websites and to report them back to Meta. This allows companies like Defendant

to build detailed profiles about their customers and to serve them with highly targeted advertising.

       44.     Additionally, a Meta Pixel installed on a company’s website allows Meta to “match

[] website visitors to their respective Facebook User accounts.”20 This is because Meta has

assigned to each of its users an “FID” number – a unique and persistent identifier that allows

anyone to look up the user’s unique Meta profile and thus identify the user by name21 – and because

each transmission of information made from a company’s website to Meta via the Meta Pixel is

accompanied by, inter alia, the FID of the website’s visitor. Moreover, the Meta Pixel can follow

a consumer to different websites and across the Internet even after the consumer’s browser history

has been cleared.

       45.     Meta has used the Meta Pixel to amass a vast digital database of dossiers comprised

of highly detailed personally identifying information about each of its billions of users worldwide,

including information about all of its users’ interactions with any of the millions of websites across

the Internet on which the Meta Pixel is installed. Meta then monetizes this Orwellian database by

selling advertisers the ability to serve highly targeted advertisements to the persons whose personal

information is contained within it.

       46.     Simply put, if a company chooses to install the Meta Pixel on its website, both the

company who installed it and Meta (the recipient of the information it transmits) are then able to




20
   Meta, “Get Started – Meta Pixel,” available at https://developers.facebook.com/docs/meta-
pixel/get-started/.
21
  For example, Mark Zuckerberg’s FID is reportedly the number “4,” so logging into Facebook
and typing www.facebook.com/4 in the web browser retrieves Mark Zuckerberg’s Facebook page:
www.facebook.com/zuck, and all of the additional personally identifiable information contained
therein.


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“track [] the people and type of actions they take,”22 including, as relevant here, the specific

prerecorded video material or services that they purchase on the website.

             B. Defendant Knowingly Uses the Meta Pixel to Transmit the Private
                Viewing Information of its Customers to Meta

       47.     Defendant’s paid subscriptions include exclusive access to prerecorded video

content including a video library of on-demand videos and lectures.

       48.     To purchase a subscription to the prerecorded video material on Defendant’s

Website, a person must provide at least his or her name, email address, billing address, and credit

or debit card (or other form of payment) information.

       49.     When a consumer is completing the subscription process to gain access to the

prerecorded videos on Defendant’s Website, Defendant uses – and has used at all times relevant

hereto – the Meta Pixel to disclose to Meta the unencrypted FID of the subscriber and the fact that

the person is requesting or obtaining a subscription to Defendant’s Website.

       50.     Defendant intentionally programmed its Website (by following step-by-step

instructions from Meta’s website) to include a Meta Pixel that systematically transmits to Meta the

FIDs of its subscribers and the fact that a subscription was purchased by each of them in order to

take advantage of the targeted advertising and other informational and analytical services offered

by Meta.

       51.     With only a person’s FID and the knowledge that a person purchased a subscription

to Defendant’s Website—all of which Defendant knowingly provides to Meta —any ordinary

person could learn the identity of the person to whom the FID corresponds and the specific video




22
   Meta, “Retargeting: How to Advertise to Existing Customers with Ads on Facebook,” available
at https://www.facebook.com/business/goals/retargeting?checkpoint_src=any.

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products or services that this person requested. This can be accomplished simply by accessing the

URL www.facebook.com/[unencrypted FID]/.

       52.     Defendant’s practices of disclosing that Plaintiff and members of the Class

purchased subscriptions on Defendant’s Website to Meta continued unabated for the full duration

of the time period relevant to this action.     At all times relevant hereto, whenever Plaintiff or

another subscriber of Defendant’s Website requested or obtained a particular subscription (by

clicking on it) on Defendant’s Website, Defendant disclosed to Meta that (inter alia) the purchaser

requested or obtained a subscription to video materials or services, along with the FID of the

subscriber who requested it (which, as discussed above, uniquely identifies the person).

       53.     At all relevant times, Defendant knew the Meta Pixel disclosed its subscribers’

Private Viewing Information to Meta.

       54.     Defendant could easily have programmed its Website so that none of its

subscribers’ detailed Private Viewing Information is disclosed to Meta. Instead, Defendant chose

to program its Website so that all of its subscribers’ detailed Private Viewing Information is sent

to Meta en masse.

       55.     Prior to transmitting its subscribers’ Private Viewing Information to Meta,

Defendant failed to notify Plaintiff or any of its other subscribers that it would do so, and neither

Plaintiff nor any of its other subscribers have consented (in writing or otherwise) to these practices.

       56.     By intentionally disclosing to Meta Plaintiff’s and its other subscribers’ FIDs

together with information that they each purchased a subscription to prerecorded video material or

services, without any of their consent to these practices, Defendant knowingly violated the VPPA

on an enormous scale.




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                                CLASS ACTION ALLEGATIONS

       57.     Plaintiff seeks to represent a class defined as all persons in the United States who,

during the two years preceding the filing of this action, purchased a subscription to access prerecorded

video material or services from Defendant’s www.simplenursing.com Website while maintaining

an account with Meta Platforms, Inc. f/k/a Facebook, Inc.

       58.     Class members are so numerous that their individual joinder herein is

impracticable. On information and belief, members of the Class number in at least the tens of

thousands. The precise number of Class members and their identities are unknown to Plaintiff at

this time but may be determined through discovery.          Class members may be notified of the

pendency of this action by mail and/or publication through the membership records of Defendant.

       59.     Common questions of law and fact exist for all Class members and predominate

over questions affecting only individual class members. Common legal and factual questions

include but are not limited to (a) whether Defendant embedded Meta Pixel on its Website that

monitors and tracks actions taken by visitors to its Website; (b) whether Defendant reports the

actions and information of visitors to Meta; (c) whether Defendant knowingly disclosed Plaintiff’s

and Class members’ Private Viewing Information to Meta; (d) whether Defendant’s conduct

violates the Video Privacy Protection Act, 18 U.S.C. § 2710; and (e) whether Plaintiff and Class

members are entitled to a statutory damage award of $2,500, as provided by the VPPA.

       60.     The named Plaintiff’s claims are typical of the claims of the Class in that the

Defendant’s conduct toward the putative class is the same. That is, Defendant embedded Meta Pixel

on its Website to monitor and track actions taken by consumers on its Website and report this to

Meta. Further, the named Plaintiff and the Class members suffered invasions of their statutorily

protected right to privacy (as afforded by the VPPA), as well as intrusions upon their private affairs



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and concerns that would be highly offensive to a reasonable person, as a result of Defendant’s

uniform and wrongful conduct in intentionally disclosing their Private Purchase Information to

Meta.

        61.    Plaintiff is an adequate representative of the Class because she is interested in the

litigation; her interests do not conflict with those of the Class members she seeks to represent; she

has retained competent counsel experienced in prosecuting class actions; and she intends to

prosecute this action vigorously.   Plaintiff and her counsel will fairly and adequately protect the

interests of all Class members.

        62.    The class mechanism is superior to other available means for the fair and efficient

adjudication of Class members’ claims. Each individual Class member may lack the resources to

undergo the burden and expense of individual prosecution of the complex and extensive litigation

necessary to establish Defendant’s liability. Individualized litigation increases the delay and

expense to all parties and multiplies the burden on the judicial system presented by this case’s

complex legal and factual issues. Individualized litigation also presents a potential for inconsistent

or contradictory judgments. In contrast, the class action device presents far fewer management

difficulties and provides the benefits of single adjudication of the common questions of law and

fact, economy of scale, and comprehensive supervision by a single court on the issue of

Defendant’s liability. Class treatment of the liability issues will ensure that all claims and

claimants are before this Court for consistent adjudication of the liability issues.




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                                     CAUSE OF ACTION
                Violation of the Video Privacy Protection Act, 18 U.S.C. § 2710

       63.      Plaintiff repeats the allegations asserted in the preceding paragraphs as if fully set

forth herein.

       64.      The VPPA prohibits a “video tape service provider” from knowingly disclosing

“personally identifying information” concerning any “consumer” to a third party without the

“informed, written consent (including through an electronic means using the Internet) of the

consumer.” 18 U.S.C. § 2710.

       65.      As defined in 18 U.S.C. § 2710(a)(4), a “video tape service provider” is “any

person, engaged in the business, in or affecting interstate or foreign commerce, of rental, sale, or

delivery of prerecorded video cassette tapes or similar audiovisual materials[.]” Defendant is a

“video tape service provider” as defined in 18 U.S.C. § 2710(a)(4) because it is engaged in the

business of selling and delivering prerecorded video materials, similar to prerecorded video

cassette tapes, to consumers nationwide.

       66.      As defined in 18 U.S.C. § 2710(a)(1), a “‘consumer’ means any renter, purchaser,

or consumer of goods or services from a video tape service provider.” As alleged above, Plaintiff

and Class members are each a “consumer” within the meaning of the VPPA because they each

purchased a subscription to access prerecorded video material or services from Defendant’s

Website that was sold and delivered to them by Defendant.

       67.      As defined in 18 U.S.C. § 2710(a)(3), “‘personally identifiable information’

includes information which identifies a person as having requested or obtained specific video

materials or services from a video tape service provider.” The Private Viewing Information that

Defendant transmitted to Meta constitutes “personally identifiable information” as defined in 18

U.S.C. § 2710(a)(3) because it identified Plaintiff and Class members to Meta as an individual


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who purchased, and thus “requested or obtained,” a subscription to access prerecorded video

content from Defendant’s Website.

       68.     Defendant knowingly disclosed Plaintiff’s and Class members’ Private Viewing

Information to Meta via the Meta Pixel technology because Defendant intentionally installed and

programmed the Meta Pixel code on its Website, knowing that such code would transmit the

subscription purchased by its consumers and the purchasers’ unique identifiers (including FIDs).

       69.     Defendant failed to obtain informed written consent from Plaintiff or Class

members authorizing it to disclose their Private Viewing Information to Meta or any other third

party. More specifically, at no time prior to or during the applicable statutory period did Defendant

obtain from any person who purchased a subscription to access prerecorded video material or

services on its Website (including Plaintiff or Class members) informed, written consent that was

given in a form distinct and separate from any form setting forth other legal or financial obligations

of the consumer, that was given at the time the disclosure is sought or was given in advance for a

set period of time, not to exceed two years or until consent is withdrawn by the consumer,

whichever is sooner, or that was given after Defendant provided an opportunity, in a clear and

conspicuous manner, for the consumer to withdraw consent on a case-by-case basis or to withdraw

consent from ongoing disclosures, at the consumer’s election. See 18 U.S.C. § 2710(b)(2).

       70.     By disclosing Plaintiff’s and Class members’ Private Viewing Information,

Defendant violated their statutorily protected right to privacy in their Private Viewing Information.

       71.     Consequently, Defendant is liable to Plaintiff and Class members for damages in

the statutorily set sum of $2,500. 18 U.S.C. § 2710(c)(2)(A).




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                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated,

 seeks a judgment against Defendant SimpleNursing LLC as follows:

           a) For an order certifying the Class under Rule 23 of the Federal Rules of Civil

              Procedure and naming Plaintiff as the representative of the Class and Plaintiff’s

              attorneys as Class Counsel to represent the Class;

           b) For an order declaring that Defendant’s conduct as described herein violated the

              VPPA;

           c) For an order finding in favor of Plaintiff and the Class and against Defendant on

              all counts asserted herein;

           d) For an award of $2,500.00 to Plaintiff and each Class member, as provided by

              18 U.S.C. § 2710(c);

           e) For an order permanently enjoining Defendant from disclosing the Private

              Viewing Information of its subscribers to third parties in violation of the VPPA;

           f) For prejudgment interest on all amounts awarded;

           g) For an order awarding punitive damages, reasonable attorneys’ fees, and costs to

              counsel for Plaintiff and the Class under Rule 23 and 18 U.S.C. § 2710(c); and

           h) For any additional relief the Court finds appropriate.




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                                            Respectfully submitted,


Dated: October 9, 2024                      COOCH AND TAYLOR, P.A.

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